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 9
                        UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
      ANGELA DIAMOS, Individually             )   CASE NO. _
12    and on Behalf of All Others             )
      Similarly Situated,                     )   CLASS ACTION COMPLAINT
13                                            )
14                         Plaintiff,         )   1. VIOLATIONS OF CALIFORNIA
                                              )      UNFAIR COMPETITION LAW
15               vs.                          )      (Cal. Bus. & Prof. Code § 17200, et
                                              )      seq.);
16
      WALMART INC.,                           )
17                                            )   2. VIOLATIONS OF CALIFORNIA
                           Defendant.         )      CONSUMERS LEGAL REMEDIES
18                                            )      ACT (Cal. Civ. Code § 1750 et
19
                                              )      seq.);
                                              )
20                                            )   3. VIOLATIONS OF CALIFORNIA
                                              )      FALSE ADVERTISING LAW (Cal.
21                                            )      Bus. & Prof. Code §§ 17500, et
22                                            )      seq.);
                                              )
23                                            )   4. BREACH OF CONTRACT;
                                              )
24                                            )   5. UNJUST ENRICHMENT.
25                                            )
                                              )   DEMAND FOR JURY TRIAL
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     477420.1                      CLASS ACTION COMPLAINT
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 1            Plaintiff Angela Diamos (“Plaintiff”) brings this action against Walmart Inc.
 2   (“Walmart” or “Defendant”), and alleges on information and belief, except as to
 3   the allegations that pertain to the Plaintiff, which are based on personal knowledge,
 4   as follows:
 5                                        INTRODUCTION
 6            1.     Consumers across the country purchased more than $130 billion of
 7   dietary supplements in 2016. One of the most popular dietary supplements is
 8   glucosamine, which some marketers believe will grow to a market of more than
 9   $750 million by 2022. Many people take glucosamine who suffer osteoarthritis or
10   joint pain.
11            2.     Glucosamine is commonly sold in two formulations: glucosamine
12   sulfate       potassium   chloride    (“Glucosamine     Sulfate”)   and    glucosamine
13   hydrochloride (“Glucosamine Hydrochloride”).
14            3.     Many consumers prefer Glucosamine Sulfate because it is believed to
15   be the more effective version of glucosamine. It also commands a premium on
16   price.
17            4.     Plaintiff purchased a bottle of Spring Valley brand glucosamine
18   sulfate, which states in large font on the label that each serving contains 1000 mg
19   of glucosamine sulfate per tablet (“Spring Valley Glucosamine Sulfate”).
20   However, laboratory testing confirms that the product actually contains
21   Glucosamine Hydrochloride and does not contain Glucosamine Sulfate. Walmart
22   is selling a dietary supplement that simply is not what it claims to be.
23            5.     Plaintiff brings this class action on behalf of all purchasers of Spring
24   Valley Glucosamine Sulfate in California (the “California Class”) for violations of
25   the California Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§
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                                                 1                 CLASS ACTION COMPLAINT
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 1   17200, et seq.; the California Consumers Legal Remedies Act (“CLRA”), Cal. Civ.
 2   Code §§ 1750, et seq.; and the California False Advertising Law (“FAL”), Cal.
 3   Bus. & Prof. Code §§ 17500, et seq. Plaintiff also brings this class action on
 4   behalf of all purchasers of Spring Valley Glucosamine Sulfate nationwide (the
 5   “Nationwide Class”) because Walmart breached a contract to sell glucosamine
 6   sulfate, and was unjustly enriched when it sold a product that it labelled as
 7   glucosamine sulfate when, in fact, it was glucosamine hydrochloride, requiring
 8   restitution.
 9          6.      Plaintiff demands a combination of damages and injunctive relief.
10                                         PARTIES
11          7.      Plaintiff Angela Diamos is a citizen of California. Ms. Diamos is
12   domiciled in Newhall (Santa Clarita), Los Angeles County, California.
13          8.      Defendant Walmart, formerly Wal-Mart Stores, Inc., is incorporated
14   in Delaware with its principal executive offices in Bentonville, Arkansas. It is a
15   multinational retail corporation, and routinely markets and sells its products in Los
16   Angeles County. Walmart sells a portfolio of its own brands, including Spring
17   Valley brand dietary supplements.
18                               JURISDICTION AND VENUE
19          9.      This Court has original jurisdiction over this action, pursuant to 28
20   U.S.C. § 1332, in that the matter in controversy exceeds the sum or value of $5
21   million, exclusive of interest and costs, and is a class action of more than 100
22   potential Class members in which Plaintiff is a citizen of California and Defendant
23   is a citizen of different states.
24          10.     Venue properly lies in this district pursuant to 28 U.S.C. § 1391
25   because Plaintiff resides in and Defendant has transacted substantial business
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                                               2                CLASS ACTION COMPLAINT
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 1   within this District within the meaning of 28 U.S.C. § 1391, and because a
 2   substantial part of the events giving rise to the claims alleged herein occurred in
 3   this District.
 4                                FACTUAL ALLEGATIONS
 5   Glucosamine Sulfate and Glucosamine Hydrochloride
 6          11.       The dietary supplement market is a large and growing market in the
 7   United States. In fact, the National Institute of Health reports that the majority of
 8   adults in the United States take one or more dietary supplements at least
 9   occasionally.
10          12.       Glucosamine is one of the most common dietary supplements
11   available.       It is a natural substance that is found in the cartilage in joints.
12   Consumers take glucosamine supplements in order to help treat the symptoms of
13   joint pain, osteoarthritis, and rheumatoid arthritis.
14          13.       As discussed above, there are two commercially available forms of
15   glucosamine: Glucosamine Sulfate and Glucosamine Hydrochloride.
16          14.       The common perception of Glucosamine Sulfate is that it performs
17   better than Glucosamine Hydrochloride. The National Institutes of Health advises
18   that there “are several kinds of glucosamine products. The most research showing
19   benefit is for products that contain glucosamine sulfate. Products that contain
20   glucosamine hydrochloride do not seem to work as well.” “Glucosamine Sulfate,”
21   MedinePlus, https://medlineplus.gov/druginfo/natural/807.html (last visited June 4,
22   2019).       Similarly, the Mayo Clinic notes: “[t]here are several forms of
23   glucosamine, including glucosamine sulfate, glucosamine hydrochloride and N-
24   acetyl glucosamine. These supplements are not considered interchangeable.”
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                                                3                CLASS ACTION COMPLAINT
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 1   “Glucosamine,” Mayo Clinic, https://www.mayoclinic.org/drugs-supplements-
 2   glucosamine/art-20362874 (last visited June 4, 2019).
 3         15.    Private companies have picked up this message and promote
 4   Glucosamine Sulfate over Glucosamine Hydrochloride. See, e.g., “Glucosamine
 5   Sulfate vs. Glucosamine Hydrochloride—What You Need To Know,” Flexcin,
 6   https://flexcin.com/glucosamine-sulfate-vs-glucosamine-hydrochloride-what-you-
 7   need-to-know/ (“As a result, many times people pick up a ‘glucosamine
 8   supplement,’ but it’s not the right kind of glucosamine and the results are sub-par.
 9   If you’re looking for a supplement with glucosamine, we highly recommend
10   getting a supplement with glucosamine sulfate potassium.”) (last visited June 4,
11   2019).
12   Plaintiff’s Experience with Defendant’s Product
13         16.    One of the many products that Walmart manufactures and sells under
14   its own brand is Spring Valley Glucosamine Sulfate. The words “Glucosamine
15   Sulfate” are prominent on the front label of the package, and the label also
16   advertises that it contains “1000 mg per tablet.” The front label looks like this:
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                                               4                 CLASS ACTION COMPLAINT
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12         17.   On the lower half of the front label, the container states “JOINT
13   HEALTH,” and represents that “Glucosamine Sulfate provides nutritional support
14   for cartilage and connective tissues, promoting joint health and comfort.”
15         18.   The back of the bottle includes a Supplement Facts panel, which states
16   that each caplet (one serving) contains “Glucosamine Sulfate Potassium Chloride
17   1000 mg (1 g).” The back of the bottle also lists the ingredients as including
18   Glucosamine Sulfate Potassium Chloride. In no place does the label suggest that
19   the product actually contains Glucosamine Hydrochloride.
20         19.   A reasonable person would believe that the caplets contain
21   Glucosamine Sulfate.
22         20.   In March 2019, Plaintiff purchased a bottle of Spring Valley
23   Glucosamine Sulfate from Walmart’s website, specifying delivery to her home in
24   Newhall, California, where she received it.
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                                              5                CLASS ACTION COMPLAINT
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 1         21.    She purchased this bottle for her joint pain. She specifically chose the
 2   Glucosamine Sulfate instead of Glucosamine Hydrochloride because the person
 3   who recommended she try Glucosamine Sulfate told her that it was more effective
 4   than Glucosamine Hydrochloride.
 5         22.    Plaintiff’s counsel sent the contents to a laboratory for analysis. The
 6   lab’s report concluded that the pills contain Glucosamine Hydrochloride, and did
 7   not detect the presence of Glucosamine Sulfate.
 8         23.    The lab test, which used Fourier-transform infrared spectroscopy, did
 9   not detect Glucosamine Sulfate in the pills that were tested and only detected
10   Glucosamine Hydrochloride. It is vanishingly unlikely that this result could be the
11   result of anything other than product mislabeling, such as manufacturing variance.
12         24.    Other tests that can be used to detect the presence or amount of
13   glucosamine, such as High-Performance Liquid Chromatography with FMOC-Su
14   Derivatization, do not distinguish between Glucosamine Sulfate and Glucosamine
15   Hydrochloride, and are therefore not appropriate or reliable for that purpose.
16         25.    It is not feasible for consumers to determine the provenance of each
17   bottle of Glucosamine Sulfate, particularly the individual manufacturing lot that
18   the bottle came from.
19         26.    Plaintiff was damaged by Walmart’s misrepresentations because she
20   paid for a product that she would not have purchased had it truthfully disclosed
21   that it did not contain Glucosamine Sulfate. Furthermore, products containing
22   Glucosamine Sulfate demand a premium on top of cost.
23         27.    Plaintiff would purchase Spring Valley Glucosamine Sulfate again if
24   she could be sure that the bottle actually contains what it is supposed to contain.
25   Defendant continues to sell Glucosamine Sulfate with substantially the same label.
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                                              6                 CLASS ACTION COMPLAINT
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 1   Plaintiff continues to be harmed because she has no means of knowing if Walmart
 2   is telling the truth about what is contained in Spring Valley Glucosamine Sulfate
 3   without conducting costly laboratory testing after buying the product, and this
 4   uncertainty has prevented her from making additional purchases.
 5                           CLASS ACTION ALLEGATIONS
 6         28.     Plaintiff brings this suit as a class action on behalf of herself and all
 7   other similarly situated pursuant to Fed. R. Civ. P. 23(a), 23(b)(2), and/or 23(b)(3).
 8         29.     Plaintiff seeks to represent the following Classes:
 9               a. Nationwide Class: All persons in the United States who purchased a
10                 Spring Valley branded dietary supplement labelled Glucosamine
11                 Sulfate from Defendant other than for purposes of resale and within
12                 the applicable statute of limitations.
13               b. California Class (subclass): All persons who purchased a Spring
14                 Valley branded dietary supplement labelled Glucosamine Sulfate from
15                 Defendant in California other than for purposes of resale and within
16                 the applicable statute of limitations.
17         30.     Upon completion of discovery with respect to the scope of the
18   Classes, Plaintiff reserves the right to amend the Class definitions. Excluded from
19   the Classes are Defendant, its parents, subsidiaries and affiliates, directors and
20   officers, and members of their immediate families.
21         31.     The members of the Classes are so numerous that joinder is
22   impracticable. It is believed that at a minimum, thousands of persons in California
23   purchased Spring Valley Glucosamine Sulfate during the Class period. Moreover,
24   thousands more will continue to purchase the product if Defendant’s practices are
25   not stopped.     The precise number of Class members and their identities are
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                                                7                CLASS ACTION COMPLAINT
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 1   unknown to Plaintiff at this time but may be determined through discovery. Class
 2   members may be notified of the pendency of this action by mail, email, and/or
 3   publication through the distribution records of Defendant (and, to the extent
 4   applicable, third party retailers and vendors).
 5         32.      Plaintiff’s respective claims are typical of the claims of the
 6   Nationwide Class and the California Class:            she purchased Spring Valley
 7   Glucosamine Sulfate during the Class Periods and sustained damages as a result of
 8   Defendant’s conduct.
 9         33.      Plaintiff will fairly and adequately represent and protect the interests
10   of the other Class members for purposes of Federal Rule of Civil Procedure
11   23(a)(4). Plaintiff has no interests antagonistic to those of other Class members.
12   Plaintiff is committed to the vigorous prosecution of this action and has retained
13   counsel experienced in litigation of this nature.
14         34.     Common questions of law and fact exist as to all members of the
15   Classes and predominate over any questions affecting only individual members of
16   the Classes, including, but not limited to:
17               a. whether Spring Valley Glucosamine Sulfate contains Glucosamine
18                  Sulfate or Glucosamine Hydrochloride;
19               b. whether Defendant represented that its Spring Valley Glucosamine
20                  Sulfate contained 1,000 mg of Glucosamine Sulfate, when it did not;
21               c. whether Defendant’s acts and practices in connection with the
22                  promotion and sale of its Spring Valley Glucosamine Sulfate violated
23                  the California UCL, CLRA, or FAL;
24               d. whether Defendant was unjustly enriched as a result of Defendant’s
25                  conduct;
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                                                8                 CLASS ACTION COMPLAINT
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 1                e. whether Defendant’s conduct damaged members of the Class and, if
 2                  so, the measure of those damages;
 3                f. whether Defendant’s acts and practices in connection with the
 4                  promotion and sale of its Spring Valley Glucosamine Sulfate should
 5                  be enjoined; and
 6                g. whether the California UCL, CLRA, or FAL should apply to all
 7                  respective California Class members.
 8          35.     A class action is superior to other available methods for the fair and
 9    efficient adjudication of this controversy.       Since the damages suffered by
10    individual Class members may be relatively small, the expense and burden of
11    individual litigation make it virtually impossible for the respective Class members
12    to seek redress for the wrongful conduct alleged. Plaintiff knows of no difficulty
13    which will be encountered in the management of this litigation which would
14    preclude its maintenance as a class action.
15          36.     Class certification is also appropriate under Federal Rule of Civil
16    Procedure 23(b)(2) because the Defendant has acted on grounds that apply
17    generally to the Classes, so that final injunctive relief or corresponding declaratory
18    relief is appropriate respecting the Classes as a whole.
19          37.     Class members have suffered and will suffer irreparable harm and
20    damages as a result of Defendant’s wrongful conduct.
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                                                9                CLASS ACTION COMPLAINT
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 1                                   CAUSES OF ACTION
 2                                          COUNT I
 3                   Violations of the California Unfair Competition Law
 4                          Cal. Bus. & Prof. Code §§ 17200, et seq.
 5                             (On Behalf of the California Class)
 6             38.   Plaintiff hereby incorporates by reference the allegations contained in
 7    paragraphs 1 to 37.
 8             39.   Plaintiff brings this claim on behalf of herself and the California
 9    Class.
10             40.   Plaintiff asserts this claim for unlawful, unfair, and fraudulent
11    business practices; and unfair, deceptive, untrue and misleading advertising.
12             41.   Defendant’s conduct is “unlawful” under the UCL because it violates
13    the California Legal Remedies Act (as discussed below) and the Food, Drug, and
14    Cosmetic Act (“FDCA”) by misbranding Spring Valley Glucosamine Sulfate.
15             42.   Defendant’s conduct is “unfair” under the UCL because it is immoral,
16    unscrupulous, unethical, oppressive, and substantially injurious to California
17    consumers of Spring Valley Glucosamine Sulfate by representing it contains
18    Glucosamine Sulfate when it actually contains Glucosamine Hydrochloride.
19             43.   Defendant’s conduct is “fraudulent” because Plaintiff, the California
20    Class, and the public generally are likely to be deceived by Defendant’s
21    misbranding of its Spring Valley Glucosamine Sulfate by representing it contains
22    Glucosamine Sulfate when it actually contains Glucosamine Hydrochloride
23             44.   Defendant’s continuing course of conduct establishes unfair,
24    deceptive, untrue and misleading advertising by misbranding its Spring Valley
25    Glucosamine Sulfate as containing Glucosamine Sulfate when it actually contains
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                                                10                CLASS ACTION COMPLAINT
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 1    Glucosamine Hydrochloride. Plaintiff relied upon the truth and accuracy of the
 2    Defendant’s branding of Spring Valley Glucosamine Sulfate, and was deceived
 3    into purchasing a product she otherwise would not have, causing her to suffer
 4    economic harm by paying more than she otherwise would have had the product
 5    been accurately labeled.
 6             45.     Plaintiff and the other members of the Class have been and continue
 7    to be injured as a direct and proximate result of Defendant’s violations of the UCL.
 8             46.     Plaintiff is entitled to pursue a claim against Defendant on behalf of
 9    the Class pursuant to Cal. Bus. & Prof. Code §§ 17203 and 17205 for restitution,
10    disgorgement, and other equitable relief to remedy Defendant’s unlawful and
11    unfair practices, and to move under Cal. Code Civ. Proc. § 1021.5 for costs and
12    attorneys’ fees.
13             47.     Plaintiff also seeks punitive damages under Cal. Civ. Code § 3294
14    because Defendant is guilty of fraud and malice by intentionally misbranding its
15    Spring Valley Glucosamine Sulfate and by intending to cause injury to the Plaintiff
16    and the California Class.
17                                            COUNT II
18                   Violations of the California Consumers Legal Remedies Act
19                                  Cal. Civ. Code §§ 1750, et seq.
20                               (On Behalf of the California Class)
21             48.     Plaintiff hereby incorporates by reference the allegations contained in
22    paragraphs 1 to 37.
23             49.     Plaintiff brings this claim on behalf of herself and the California
24    Class.
25             50.     Plaintiff is a “consumer” as defined in Cal. Civ. Code § 1761(d).
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                                                  11                  CLASS ACTION COMPLAINT
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 1          51.    Defendant is a “person” as defined in Cal. Civ. Code § 1761(c).
 2          52.    Spring Valley Glucosamine Sulfate constitutes “goods” under Cal.
 3    Civ. Code § 1761(a).
 4          53.    Plaintiff’s purchase was a “transaction” under § 1761(e).
 5          54.    The CLRA prohibits “unfair or deceptive acts or practices undertaken
 6    by any person in a transaction intended to result or that results in the sale . . . of
 7    goods. . . to any consumer,” which occurs when, among other instances, a person:
 8    “Represent[s] that goods or services have . . . characteristics, ingredients, uses,
 9    benefits, or quantities that they do not have,” § 1770(a)(5); and “Advertis[es]
10    goods or services with intent not to sell them as advertised,” § 1770(a)(9).
11          55.    Plaintiff and the other members of the Class have been, and continue
12    to be, injured as a direct and proximate result of Defendant’s violations of the
13    CLRA.
14          56.    Plaintiff is entitled to pursue a claim against Defendant on behalf of
15    the Class to enjoin Defendant from continuing its unfair or deceptive acts or
16    practices under Cal. Civ. Code § 1780(a) and § 1781, as well as to pursue costs and
17    attorneys’ fees under § 1780(e).
18          57.    Under the requirements of California Civil Code §1782(a), Plaintiff is
19    serving on Defendant, a CLRA notice letter. If Defendant does not rectify these
20    issues within the time period provided by the CLRA, Plaintiff will amend this
21    Complaint to assert claims for additional relief.
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                                               12                CLASS ACTION COMPLAINT
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 1                                         COUNT III
 2                     Violations of the California False Advertising Law
 3                          Cal. Bus. & Prof. Code §§ 17500, et seq.
 4                             (On Behalf of the California Class)
 5             58.   Plaintiff hereby incorporates by reference the allegations contained in
 6    paragraphs 1 to 37.
 7             59.   Plaintiff brings this claim on behalf of herself and the California
 8    Class.
 9             60.   Plaintiff asserts this claim for the unlawful inducement into an
10    obligation and purchase of Spring Valley Glucosamine Sulfate due to Defendant’s
11    statements in advertising that are untrue and misleading, and of which Defendant
12    knew or should have known were untrue and misleading. Defendant misbranded
13    its Spring Valley Glucosamine Sulfate by representing that it contains
14    Glucosamine Sulfate when it actually contains Glucosamine Hydrochloride. This
15    representation is objectively false and therefore likely to deceive members of the
16    public.
17             61.   Plaintiff and the other members of the Class have been and continue
18    to be injured as a direct and proximate result of Defendant’s violations of the FAL.
19             62.   Plaintiff is entitled to pursue a claim against Defendant on behalf of
20    the Class pursuant to Cal. Bus. Prof. Code § 17535 for restitution and equitable
21    relief to remedy Defendant’s unlawful and unfair practices, and to move under Cal.
22    Code Civ. Proc. § 1021.5 for costs and attorneys’ fees.
23             63.   Plaintiff also seeks punitive damages under Cal. Civ. Code § 3294
24    because Defendant is guilty of fraud and malice by intentionally misbranding its
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                                                13                CLASS ACTION COMPLAINT
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 1    Spring Valley Glucosamine Sulfate and by intending to cause injury to the Plaintiff
 2    and the California Class.
 3                                        COUNT IV
 4                                     Breach of Contract
 5                             (On Behalf of the Nationwide Class,
 6                        and in the alternative, the California Class)
 7           64.    Plaintiff hereby incorporates by reference the allegations contained in
 8    paragraphs 1 to 37.
 9           65.    Plaintiff and members of the Nationwide and California Classes had a
10    valid contract, supported by sufficient consideration, pursuant to which Defendant
11    was obligated to provide dietary supplements which, in fact, contained
12    Glucosamine Sulfate, as represented by Defendant.
13           66.    Defendant materially breached its contract with Plaintiff and members
14    of the Classes by providing Spring Valley Glucosamine Sulfate that did not contain
15    Glucosamine Sulfate.
16           67.    As a result of Defendant’s breach, Plaintiff and members of the
17    Classes were damaged in that they did not receive the product for which they paid,
18    but instead received a product with less value than the amount paid.
19           68.    Moreover, Plaintiff and members of the Classes have suffered and
20    continue to suffer economic losses and other general and specific damages,
21    including but not limited to the amounts paid for the Spring Valley Glucosamine
22    Sulfate, and any interest that would have accrued on those monies, all in an amount
23    to be proven at trial.
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                                               14                CLASS ACTION COMPLAINT
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 1                                        COUNT V
 2                          Unjust Enrichment and/or Restitution
 3                           (On Behalf of the Nationwide Class,
 4                      and in the alternative, the California Class)
 5          69.    Plaintiff hereby incorporates by reference the allegations contained in
 6    paragraphs 1 to 37.
 7          70.    Plaintiff brings this claim individually and on behalf of the members
 8    of the Nationwide Class, and in the alternative, the California Class against
 9    Defendant.
10          71.    Plaintiff alleges that Spring Valley Glucosamine Sulfate does not
11    contain Glucosamine Sulfate, and instead contains Glucosamine Hydrochloride.
12          72.    By means of Defendant’s wrongful conduct alleged herein, Defendant
13    knowingly sold dietary supplements that were mislabeled in a manner that was
14    unfair, unconscionable, and oppressive.
15          73.    Defendant knowingly received and retained wrongful benefits and
16    funds from Plaintiff and members of the Classes. Therefore, Defendant acted with
17    conscious disregard for the rights of Plaintiff and members of the Classes.
18          74.    As a result of Defendant’s wrongful conduct as alleged herein,
19    Defendant has been unjustly enriched at the expense of, and to the detriment of,
20    Plaintiff and members of the Classes.
21          75.    Defendant’s unjust enrichment is traceable to, and resulted directly
22    and proximately from, the conduct alleged herein.
23          76.    Under the common law doctrine of unjust enrichment, it is inequitable
24    for Defendant to be permitted to retain the benefits it received, and is still
25    receiving, without justification, from the imposition of fees and rates on Plaintiff
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                                                15              CLASS ACTION COMPLAINT
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 1    and members of the Classes in an unfair, unconscionable, and oppressive manner.
 2    Defendant’s retention of such funds, under circumstances making it inequitable to
 3    do so, constitutes unjust enrichment.
 4          77.      The financial benefits derived by Defendant rightfully belong to
 5    Plaintiff and members of the Classes. Defendant should be compelled to disgorge
 6    in a common fund for the benefit of Plaintiff and members of the Classes all
 7    wrongful or inequitable proceeds received by them.
 8          78.      A constructive trust should be imposed upon all wrongful or
 9    inequitable proceeds received by Defendant traceable to Plaintiff and members of
10    the Classes.
11          79.      Plaintiff and members of the Classes have no adequate remedy at law.
12                                   PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff, individually and on behalf of all others similarly
14    situated, requests that the Court award the following relief:
15                a. Certify this action as a class action pursuant to Federal Rule of Civil
16                   Procedure 23, appoint Plaintiff as representative of the Classes, and
17                   designate the undersigned as Class counsel;
18                b. Award Plaintiff and the Class monetary damages;
19                c. Award Plaintiff and the Classes equitable, declaratory, and/or
20                   injunctive relief, as requested herein;
21                d. Award Plaintiff and the Classes restitution and/or disgorgement;
22                e. Award Plaintiff and the Classes punitive damages;
23                f. Grant Plaintiff and the Classes payment of the costs of prosecuting
24                   this action, including expert fees and expenses;
25                g. Grant Plaintiff and the Classes payment of reasonable attorneys’ fees;
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                                                 16                CLASS ACTION COMPLAINT
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 1             h. Grant such other relief as the Court may deem just and proper.
 2                                 DEMAND FOR JURY TRIAL
 3          Plaintiff and the Classes demand a trial by jury on all issues so triable.
 4
 5    DATED: June 25, 2019                   Respectfully submitted,
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